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 1   OR IN CASE OF DENIAL:
 2        The government's application for sealed filing is DENIED.
 3   The sealing application will be filed under seal.          The
 4   underlying document shall be returned to the government, without
 5   filing of the document or reflection of the name of nature of
 6   the document on the clerk’s public docket.
 7
     Dated: ____________               ______________________________
 8
                                       UNITED STATES DISTRICT JUDGE
 9
     Submitted by:
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11
     ________/s/_________________________
12   DANIEL J. O’BRIEN
     Assistant United States Attorney
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